                                                                                      08/27/2024


           IN THE SUPREME COURT OF THE STATE OF MONTANA                           Case Number: DA 23-0357


                                 No. DA 23-0357


STATE OF MONTANA,

             Plaintiff and Appellee,

      v.

SHELDON VERNON HAMELINE,

            Defendant and Appellant.


                            GRANT OF EXTENSION

      Upon consideration of Appellee’s motion for a 30-day extension of time,

and good cause appearing therefor, Appellee is granted an extension of time to

and including October 1, 2024, within which to prepare, file, and serve its

response brief.




BF                                                                    Electronically signed by:
                                                                         Bowen Greenwood
                                                                     Clerk of the Supreme Court
                                                                           August 27 2024
